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                                 UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                        OAKLAND DIVISION



LARRY GOLDEN,                             )            Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )            NOTICE OF ATTORNEY APPEARANCE
                                          )            OF VIRGINIA G. KAIN
v.                                        )
                                          )            Judge:      Hon. Haywood S. Gilliam, Jr.
GOOGLE LLC,                               )
                                          )
   Defendant.                             )
                                          )
_________________________________________ )

       Defendant Google LLC hereby notifies the Court and the parties to this action that Virginia G.

Kain of Warren Lex LLP, an attorney admitted to practice before this Court, appears as counsel for

defendant Google LLC in this matter. Please serve all pleadings, correspondence, and other materials on

Ms. Kain at the above address.

Date: December 6, 2022                           Respectfully submitted,
                                                 _______________________________________
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